                                  Case 2:22-cv-02556-AB Document 1 Filed 06/30/22 Page 1 of 21
 IS 44 (Rev. l0/20)                                                       CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleaulngs or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial ConlCrcncc olthe United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket shecl. (SEE INS11(r/CTIONS ON NEA'7PAG1f 01 77lIS]"()l<'M,)
 1. (H) FLAINTIFFS                                                                                          DEFENDANTS
                                                                                                            CITY CRUISES PHILADELPHIA, SPIRIT OF
           MELINDA LeSAGE and HERBERT J. LeSAGE, JR., w/h
                                                                                                            PHILADELPHIA and ENTERTAINMENT CRUISES, INC.
    (b) County of kesidence of First Listed Plaintiff            Chester                                    County ofResidence of First Listed Defendant Philadelphia
                                 (EXCEFTIN U.S. l'l.AlNY7I'7"CASIVS)                                                               (IN lL S. p[_A[N71I&7. cAs/.s 0/vw
                                                                                                            NOTE:      IN LAND CONDEMNATION CASES, USE TIIE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.
    (C )   Attorneys (l"i/Iu Name, Ilddre.r.r, nm/ Telep/lone Number)                                        Attorneys (/fKnmlrg)

           Joseph Cullen, Jr., Stark & Stark, 777 Township Line                                             Timothy Rau, Marshall Dennehey, 2000 Market St., Ste.
           Road, Ste. 120, Yardley, PA 19067, (267) 907-9600                                                2300, Philadelphia, PA 19103, (215) 575-2623
 II. BASIS OF JURISDICTION (l'/nec HH "X" in One Box 00/)ll                                    Ill. CITIZENSHIP OF PRINCIPAL PARTIES (['[CILU(1I1",\" in One Boxfnr I'IaiMi[]
                                                                                                         (For Divan.ig# Ca.se.v 01:49                                    am/ One Hoxfor Deja/u/any
Q1      U.S. Govemmen(                QUO Federal Question                                                                          PTF DEF                                                PTF       DEF
           Plaintiff                        (U.S. Gavernmenl Nu/ a I'ar9)                          Citizen cfTI\is State            xI 0 1          Incoqnaratcd or Principal Place        Q4        04
                                                                                                                                                       ofBusiness In This State

Q2      U.S. Govcnlmem                   4 Diversity                                               Citizen ofAnolher Stale          QUO     31 2    Incorporated and Frincipal Place        Q5       x5
          Defendant                          (lmiicale Cilizellsllip ufTaIIicx ill /lem III)                                                           of Busillcss In Another Stale

                                                                                                   Citizen or Subject of a          QUO     D   3   Foreign Nation                         Q6        QUO
                                                                                                     Foreign Counhy
 IV. NATU RE OF SUIT (Place all "X" in One Bax Only)                                                                                    Click here for: Nature of Suit Codc;_Desgjptions.
             CONTRACT                                          TORTS                             FORFEI'IlllRE/FENALTY                BA NKRUPTC \l                              OTHER STATUTES
     I 10 Insur\llcc                     PERSONAL INJURY             PERSONAL INJURY 3625 Drug Related Seizure                     422 Appeal 28 USC 158                       375 False Claims Act
     120 Marine
     130 Miller Act
                                         310 Airplane
                                     _l315 Airplane Product
                                                                    365 Personal Injuiy .
                                                                         Product Liability
                                                                                                      ofI'roperty21 USC 88 I
                                                                                              j 690 Other
                                                                                                                                        8
                                                                                                                                   423 Withdrawal
                                                                                                                                        28 USC 157
                                                                                                                                                                               376 Qui Tmu (3l USC
                                                                                                                                                                                   3729(a))
     140 Negotiable Insmnnent                Liability              367 Health Care/                                                                                           400 Slate Reappclnionmcnt
     150 Recovery nf()vclp:\yn\en1       320 Assault, Lib cl &          l'l\8nnaceulical                                          PROPERTY RIGHTS                              410 Antitrust
         & Enfbrccmcn( ofludgmenl            Slanrlcr                   Personal Injury                                            820 Copyrights                              430 Banks and Banking
     ISI Medicare Act                    330 Federal Employers'         Produc( Liability                                          830 Patch                                   450 Commerce
|_] 152 Recovery of Defauhed
          Smclent Loans
                                             Liability
                                         340 Marine
                                                                    368 Asbestos Personal
                                                                         Injury Product
                                                                                                                                        8
                                                                                                                                   835 Patent Abbreviated
                                                                                                                                        New Drug Applicltiou
                                                                                                                                                                               460 Deportatimi
                                                                                                                                                                               470 Racketeer Influenced and
         (Excludes Vctcrws)              345 Marine Product              Liability                                                 840 Trademark                                  Comlpt Organizations
     153 Recovery of()vcrpaylnent            Liability             FERSONAL PROPERTY                       LABOR                   880 Defend Trade Secrets                    480 Consigner Credit
         of Veterans Benelils       3    350 Motor Vehicle          370 Other Fraud           j 710 Fair Labor Standards                Act of 2016                                (I5 USC 1681 or 1692)
     160 S\ockholdels Suits              355 Motor Vehicle         O371 Truth in Lending              Act                                                                      485 Telephone Consumer
     190 Other Contract                     Product Liability       380 Other Personal        j 720 Labor/Manabelncnt               SOCIAL SECURITY                                Protection Act
     195 Contract Froduct Liability 3360 Other Personal                 Pl0pEl1y Damage               Rcl\tions                    861 HIA<I395ff)                             490 Cable/Sat TV
     196 Franchise                          Injury                  385 Property Da1nal,c         740 Railway Labor Act            862 Black Lung (923)                        850 Sccnrities/Cclmnodilies/
                                     j 362 Personal Injury -            Product Liability         751 Fanlily and Medical          863 DIWC/DI\VW (405(g))                         Exchange

         REI\L PROPERTY
                                            Medical Malpractice
                                          CI VI L RICHTS          PRISONER PETITIONS
                                                                                                      Leave Act
                                                                                                 1790 Other Labor Litigation
                                                                                                                                        9
                                                                                                                                   864 SSID Title XVI
                                                                                                                                   865 RSI (405(g))
                                                                                                                                                                               890 Olhcr Slallnoiy Actions
                                                                                                                                                                               891 Agricultural Acls
   | 210 Land Condclmntion              440 Other Civil Rights      Ilaheas Corpus:               791 Employee Retirement                                                      893 Envirollnlental Maltcrs
     220 Foreclosure                    MI Voting                   463 Alien Dewiness               Income Security Act          FED R LTA             I T.                   895 Freedom oflnflollux\ion
     230 Rent Lease & Ejechnent         442 Employment              510 Motions to Vacate                                          870 Taxes (U.S, PlainlilT                       Act
     240 Tans to Land                   443 Cousin/                     Sentence                                                        or Defendant)                          896 Arbitration
     245 Ton Product Liability              Acconunodalions         530 General                                                    871 IRS Tllird Party                        899 Administrative Procedure
     290 All Other Real Properly        445 Amer. w/Disabilities    535 Death Penalty                 IMMIGRATION                       26 USC 7609                               Act/Review or Appeal of
                                            Employment              Other:                        462 Nalulalizalion Application                                                  Agency Decision
                                        446 Amer. w/Disabilities
                                            Other
                                                                    540 Mandamus & Other
                                                                    550 Civil Rights
                                                                                                  3
                                                                                                  465 Other Immigration
                                                                                                     Actions
                                                                                                                                                                               950 Constilulionalily of
                                                                                                                                                                                  Stale Statutes
                                        448 Education               555 Prison Condition
                                                                    $60 Civil Detaincc -
                                                                        Conditions of
                                                                        Confinement
 V. ORIGIN (Place (I/I ",\" in One Box (hlbg)
D I Original                 2 Removed from             03       Remanded from           D4 Reinstated or E 5 Yransferred from E 6 Multidistrict                                   U 8 Multidistrict
        Proceeding              Stale Court                      Appellate Court             Reopened                  Another District             Litigation .                       Litigation -
                                                                                                                             (SP@CiD')                        Transfer                 Direct File
                                         Cite the U.S. Civil Statute Linder which you are filing (Du lm! eilejrlrivrlivliw/ul.rrululav un/¢»zv rliw.ni[\')I
                                         28 U.S. Code Section 1332
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Personal Injury premises liability
VII. REQUESTED IN 0 CHECK IF THIS IS A CLASS ACTION                                                  DEMAND S                                   CHECK YES only ifdemandcd in complaint:
     COMPLAINT:        UNDER RULE 23, F.R.Cv.P.                                                      $750,000                                   JURY DEM AND:                   x Yes      0 No
vm. RELATED CASE(S)
                     (See irr.wrucnon.s).
      IF ANY                              JUDGE                                                                                             DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD 1
06/30/2022                                                              Timothy D. Rau
                                                                                                                                _
FOR OFFICE [ISE ONLY
   RECEIPT H                    AMOUNT                                     APPLYING IFF                                    JUDGE                              h/I}\G. | UDGE
                                Case 2:22-cv-02556-AB Document 1 Filed 06/30/22 Page 2 of 21
                                                              UNITED STATES DISTRICT COURT
                                                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                                DESIGNATION FORM
                       (lo be used by counsel Of pro se plainfwlo indicate /he calegoiy oflhe case for /he pzuywse 0/assigllmenl lo I/le zzpproI1/irlle calendar)

 Address of Plaintiff:                                2 My Way-Lincoln U niversity, Lincoln University, PA 19352
 Address of Defendant:                                      455 N Cityfront Drive, Suite 2660, Chicago, IL 60611
 Place of Accident, Incident or Transaction:                                        401 S. Columbus Blvd, Philadelphia, PA 19106


RELA TED CASE, IFANY:

 Case Number:                                                        Judge:                                                        Date Terminated :

 Civil cases are deemed related when Yes is answered to any of the following questions:

 l.     Is this case related to property included in an earlier numbered suit pending or within one year                              Yes                No
        previously terminated action in this court?

 2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                             Yes                No
        pending of within one year previously terminated action in this court?

 3.     Docs this case involve the validity or in1"ringemeM of a patent already in suit or any earlier                                Yes                No
        numbered case pending or within one year previously terminated action of this court?

4.      Is this ClSC a second or successive habeas corpus, social security appeal, or pro se civil rights                             Yes                No
        case filed by the same individual?

I certify that, to my knowledge, the within case                  is /   .   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.                                             -1"


DATEt        06/30/2022                                                                        sign her                                                84707
                                                                               Allorney-ai-Lmv / Pro Se PIaiHIW                               Arlorney LD. # (lfapplicable)


 CIVIL: (Place :\ 4 in one category only)

A.              Federal Question Crl.ses.                                                       B.    Diversify .llui.wlictioll Cases.'

        1. Indemnity Contract, Marine Contract, and All Other Contracts                               I.    Insurance Contract and Other Contracts
        2. FBLA                                                                                       2.    Airplane Personal Injury
        3. Jones Act-Personal Injury                                                                  3.    Assault, Defamation
        4. Antitrust                                                                                  4.    Marine Personal Injury
        5. Patent                                                                                     5.    Motor Vehicle Personal Injury
        6. Labor-Management Relations                                                            J    6.    Other Personal Injury (Please specm9:          Negligence
        7. Civil Rights                                                                               7.    Products Liability
        8. Ilabcas Corpus                                                                             8.    Products Liability - Asbestos
        9. Securities Act(s) Cases                                                                    9.    All other Diversity Cases
        IO. Social Security Review Cases                                                                    (Please spec').
        l l. All other Federal Question Cases
               (Please spec@).



                                                                              ARBITRATION CERTIFICATION
                                                     (The eject off his celIj/Ycalion is lo remove I/ze case/}om eligibililyfor aIbilIulion.)

1,                                                           a   counsel of record or pro se plaintiff, do hereby certify:

                Pursuant to Local Civil Rule 53.2, §3(c) (2), that to the best of my knowledge and belief the damages recoverable in this civil action case
                exceed the sum of$l50,000.00 exclusive of interest and costs:

                Reliefothel than monetary damages is sought.


DATE:                                                                                  Sign here if applicable
                                                                              ArloIney-al-Lmv / Pro Se P]ainl{u                              Attorney I.D. # (lfapplicable)

NOTE: A trial de novo will be a trial by jury only iflhere has been compliance with F.R.C.F. 38.

(.iv. 609 (5420/.9)
             Case 2:22-cv-02556-AB Document 1 Filed 06/30/22 Page 3 of 21




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MELINDA LGSAGE and                                            CIVIL ACTION
HERBERT J. LeSAGE, JR., w/h
                                                              NO.
                       Plaintiffs

                v.

CITY CRUISES PHILADELPHIA,
SPIRIT OF PHILADELPHIA and
ENTERTAINMENT CRUISES, INC.

                       Defendants


TO:     CLERK OF COURT OF THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                      NOIIQE OF REMOVAL

        Defendants, City Cruises Philadelphia, Spirit of Philadelphia and Entertainment Cruises,

Inc. (hereinafter refe11'ed to as "Removing Defendants"), by and through their attorneys,

Marshall Dennehey Warner Coleman & Goggin, hereby file this Notice of Removal of this case

from the Court of Common Pleas of Philadelphia County, Pennsylvania to the United States

District Coult for the Eastern District of Pennsylvania on the basis of diversity jurisdiction, and

in support thereof aver as follows:

        1.      Plaintiff commenced this action by filing a Complaint on May 13, 2022, in the

Court of Common Pleas of Philadelphia County, Pennsylvania docketed as May 2022 Term, No.

01279. (A true and correct copy of the Complaint is attached hereto and marked as Exhibit "A").

        2.      The Complaint was served upon all defendants via personal service on June 2,

2022.
             Case 2:22-cv-02556-AB Document 1 Filed 06/30/22 Page 4 of 21




                The Complaint states that Plaintiffs are adult individuals and residents of the

Commonwealth of Pennsylvania, residing therein at 2 My Way-Lincoln University, Lincoln

University, PA 19352. Therefore, upon information and belief, Plaintiffs are citizens of the

Commonwealth of Pennsylvania.

        4.      Defendant City Cruises Philadelphia is a brand name of Hornblower Cruises and

Events, LLC, which replaced Spirit Cruises, LLC via a name change in 2020. Hornblower

Cruises and Events, LLC is domestic limited liability company organized pursuant to the laws of

the state of Delaware. Its principal place of business is located at 455 N Cityfront Drive, Suite

2600, Chicago, IL 60611. (See Affidavit of Colleen La Ha, attached hereto and marked as

Exhibit "B," 113).

        5.      Defendant Entertainment Cruises, Inc. is predecessor corporation of Hornblower

Cruises and Events, Inc., which replaced Entertainment Cruises, Inc. via a name change in 2020.

Hornblower Cruises and Events, Inc. is a domestic corporation organized pursuant to the laws of

the state of Delaware. Its principal place of business is located at 455 N Cityfront Drive, Suite

2600, Chicago, IL 60611. (Ex. ccB,59 112).

       6.      Defendant Spirit of Philadelphia is a marine vessel owned by Hornblower Cruises

and Events, LLC. (Ex. "B," 1[4).

       7.      Hornblower Cruises and Events, Inc. is the sole member of Hornblower Cruises

and Events, LLC. (Ex. "B," 115).

        8.     Hornblower Cruises and Events, LLC and Hornblower Cruises and Events, Inc.,

are organized under Hornblower Group, Inc., which is a domestic corporation organized

pursuant to the laws of the state of California. Its principal place of business is Pier 3, The

Embarcadero, San Francisco, CA 941 I 1. (Ex. "B," 116).
               Case 2:22-cv-02556-AB Document 1 Filed 06/30/22 Page 5 of 21



         9.       None of the Removing Defendants is incorporated or otherwise organized

pursuant to the laws of Pennsylvania. Moreover, their principal places of business are not, and

never were located in Pennsylvania.

         10.      Defendant City Cruises Philadelphia and its corporate entity, Hornblower Cruises

and Events, Inc., are not residents of Pennsylvania.

         11.      Defendant Entertainment Cruises, Inc. and its successor, Hornblower Cruises,

Inc., are not residents of Pennsylvania.

         12.      Defendant Spirit of Philadelphia is owned by Hornblower Cruises and Events,

LLC and neither is a resident of Pennsylvania.

         13.      Based upon the allegations of Plaintiffs' Complaint, the amount in controversy in

this action is in excess of Seventy-Five Thousand Dollars ($75,000.00), exclusive of costs and

interest, as Plaintiff has alleged damages in excess of $50,000.00 in the Complaint.

         14.      As such, the above described civil action is one in which this Honorable Court has

jurisdiction pursuant to the provisions of 28 U.S.C. § 1332 based upon the fact that there exists

diversity of citizenship between the parties and the amount in controversy exceeds $75,000.00.

         15.      Under these circumstances, the lawsuit could have been brought originally before

this Court under 28 USC §1332 between the Plaintiff and Removing Defendants. Further,

pursuant to 28 USC §l441 (b), the Defendant is not a citizen of Pennsylvania where the action

was brought. The lawsuit is, therefore, properly removed to this Court pursuant to 28 USC

§1441.

         16.      This Notice of Removal has been filed within thirty (30) days after receipt by

Removing Defendants of the Complaint in accordance with 28 U.S.C. § l446(b).
             Case 2:22-cv-02556-AB Document 1 Filed 06/30/22 Page 6 of 21




       17.      Written notice of the filing of this Notice of Removal has been given to the

adverse party in accordance with 28 U.S.C. §1446(d), as noted in the attached Certificate of

Service.

       18.      Promptly after filing in this Court and the assignment of a civil action number, a

copy of the Notice of Removal will be filed with the Court of Common Pleas of Philadelphia

County, Pennsylvania in accordance with 28 U.S.C. §l446(d).

       19.      Removing Defendant expressly reserves the right to raise all defenses and

objections in this action after it is removed to this Honorable Court. No admission of fact, law,

or liability is intended by this Notice of Removal, and all defenses, affirmative defenses and

motions are hereby reserved to all defendant.

       20.      Copies of all process, pleadings and other Orders which have been received by

Defendant in this action are filed herewith.

       WHEREFORE, Defendants City Cruises Philadelphia, Spirit of Philadelphia and

Ente1tailmlent Cruises, Inc. respectfully request that they may affect the removal of this action

from the Court of Common Pleas of Philadelphia County, Pennsylvania to the United States

District Court for the Eastern District of Pennsylvania.

                                               MARSHALL DENNEHEY WARNER
                                               COLEMAN & GOGCIN

                                               BY:_   980           9 %,, _-
                                                      TIMOTHY D. RAU, ESQUIRE
                                                      2000 Market Street, 23 rd Floor
                                                      Philadelphia, PA 19103
                                                      (215) 575~2623
                                                      Attorney for Defendants,
                                                      City Cruises Philadelphia,
                                                      Spirit of Philadelphia and
                                                      Entertainment Cruises, Inc.

Dated: June 30, 2022
          Case 2:22-cv-02556-AB Document 1 Filed 06/30/22 Page 7 of 21




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MELINDA LeSAGE and                                          CIVIL ACTION
HERBERT J. LeSAG18, JR., w/h
                                                            NO.
                       Plaintiffs

              v.

CITY CRUISES PHILADELPHIA,
SPIRIT OF PHILADELPHIA and
ENTERTAINMENT CRUISES, INC.

                       Defendants


                                       CERTIFICATION

       I, Timothy D. Rau, Esquire, hereby certify that the facts set forth in the foregoing Notice

of Removal are true and correct to the best of my knowledge, information and belief.


                                             MARSHALL DENNEHEY WARNER
                                             COLEMAN & GOGGIN

                                             BY:                                /
                                                    TIMOTHY D. RAU, ESQUIRE
                                                    2000 Market Street, 23'd Floor
                                                    Philadelphia, PA 19103
                                                    (215) 575-2623
                                                    Attorney for Defendants,
                                                    City Cruises Philadelphia,
                                                    Spirit of Philadelphia and
                                                    Enteitainment Cruises, Inc.

Dated: June 30, 2022
          Case 2:22-cv-02556-AB Document 1 Filed 06/30/22 Page 8 of 21




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MELINDA LeSAGE and                                         CIVIL ACTION
HERBERT J. LeSAGE, JR., w/h
                                                           NO.
                       Plaintiffs

              v.

CITY CRUISES PHILADELPHIA,
SPIRIT OF PHILADELPHIA and
ENTERTAINMENT CRUISES, INC.

                       Defendants


                                    CERTIFICATE OF SERVICE

       I, Timothy D. Rau, Esquire, hereby certify that a true and correct copy of the foregoing

Notice of Removal was served upon all counsel of record via electronic filing on the below date.

                                            MARSHALL DENNEHEY WARNER
                                            COLEMAN & GOGGIN

                                            BY:      %,,m          9 %,        /
                                                    TIMOTHY D. RAU, ESQUIRE
                                                    2000 Market Street, 23rd Floor
                                                    Philadelphia, PA 19103
                                                    (215) 575-2623
                                                    Attorney for Defendants,
                                                    City Cruises Philadelphia,
                                                    Spirit of Philadelphia and
                                                    Entertainment Cruises, Inc.

Dated: June 30, 2022
Case 2:22-cv-02556-AB Document 1 Filed 06/30/22 Page 9 of 21




   EXHIBIT                               H A ii
          Case 2:22-cv-02556-AB Document 1 Filed 06/30/22 Page 10 of 21




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STARK & STARK, P.C.                                                        Fi1 ed ,/
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By: Joseph A. Cullen, Jr., Esq.                                                                      kI?ClE8i1H records
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Attorney I.D. No. 82167                                                        13                        222i4
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By: Dylan Cochran, Esq.                                                                   B
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Attorney I.D. No 328823                                                                       "\ '%r141n1 *if
777 Township Line Rd., Suite 120
Yardley, PA 19067
Telephone (267)907-9600
Facsimile (267)907-9659
jcullen@stark-stark.eom
dcocln'aI1@sta1l<-§ta1k_.Qom



 MELINDA LESAGE and HERBERT J.                        COURT OF COMMON PLEAS
 LESAGE, JR., w/h                                     PHILADELPHIA COUNTY
 2 My Way-Lincoln University
 Lincoln University, PA, 19352

                 v.                                   NO.
 CITY CRUISES PHILADELPHIA
 401 S Christopher Columbus Blvd,
 Philadelphia, PA, 19106

               and

 SPIRIT OF PHILADELPHIA                                      JURY TRIAL DEMANDED
 401 S Christopher Columbus Blvd,
 Philadelphia, PA, 19106

                And

 ENTERTAINMENT CRUISES, INC.
 123 Chestnut St, Ste 402
 Philadelphia, PA, 19106


                                              NOTICE

        YOU HAVE BEEN SUED IN COURT. If you wish to defend against the claims set faith in the
following pages, you must take action within twenty (20) days after this Complaint and Notice are served,
by entering a written appearance personally Of by attorney and filing in writing with the Court your
defenses or objections to the claims set forth against you. You are warned that if you fail to do so the case
may proceed without you and a judgment may be entered against you by the Court without further notice
for any money claimed in the Complaint or for any other claim or relief requested by the Plaintiff. You
may lose money or property or other rights important to you.




4866-4498-9471, v. 1                                                                                          C85€ ID: 220501219
           Case 2:22-cv-02556-AB Document 1 Filed 06/30/22 Page 11 of 21




     YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW. THIS OFFICE
CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWYER.

    IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO
PROVIDE YOU WITI-I INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL
SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

                               PHILADELPHIA BAR ASSOCIATION
                                   LAWYER REFERRAL AND
                                    INFORMATION SERVICE
                                        One Reading Center
                                 Philadelphia, Pennsylvania 19107
                                    Telephone: (2l5) 238-1701



                                 AVISO PARA DEFENDER

    USTED HA SIDO DEMANDADO/A EN LA CORTE. Si usted desea defender conta la
demands puestas en las siguientes péginas, usted tiena que torr accién dentro veinte (20) dias
después que esta Demanda y Aviso es servido, con entrando por escrito Una aparencia
personalmente o por un abogado y archivando por escrito con la Comte Sus defenses O objeciones
a las demanders puestas en esta contra musted. Usted es adveltido que Si falls de hacerlo el case
puede proceder sin usted y un jaxgamiento puede ser entrado contra usted or la Corte sin mis
avis por cualquier dinero reclamado en la Dermanda o or cualquier otro reclamo O alive
solicitado por Demandante. Usted puede peder dinero o propiedad o otros derechos importante
para usted.

   USTED DEBE LLEVER ESTE PAPEL A SU ABOGADO ENSEGUIDA. SI USTED NO
TIENE UN ABOGADO, VAYA O LLAME POR TELEFONO LA OFICINA FLJADA AQUI
ABAJO. ESTA OFICW A PUEDE PROVEERE CON INFQRMACIQN DE CGMO
CONSEGUIR UN ABOGADO.

    SI USTED NO PUEDE PAGARLE A UN ABOGADO ESTA OFICINA PUEDE
PROVEERE' iNFOMRACiON ACERCA AGENCIAS QUE PUEDAN OFRECER SERVICIOS
LEGAL A PERSONAS ELIGIBLE AQ UN HONORARIO REDUCIDO O GRATIS.
                        ASOCIACION DE LICENCIADOS DE FILADELFIA
                                SERVICIO DE REFERENCIA
                                 E INFORMACION LEGAL
                                      One Reading Center
                                Filadelfia, Pennsylvania 19107
                                           Telefono: (215) 238-1701




4866-4498-9471, v. 1                                                                    C85€ ID: 220501279
          Case 2:22-cv-02556-AB Document 1 Filed 06/30/22 Page 12 of 21




STARK & STARK, P.C.
By: Joseph A. Cullen, Jr., Esq.                                Atoorneysfor Plaints)%
Attorney I.D. No. 82167
By: Dylan Cochran, Esq.
Attorney I.D. No 328823
777 Township Line Rd., Suite 120
Yardley, PA 19067
Telephone (267)907-9600
Facsimile (267)907-9659
.icullen@stark-starl<.com.
 dcochran@sta1°k-starl<.com



MELINDA LESAGE and HERBERT J.                           COURT OF COMMON PLEAS
LESAGE, JR., w/h                                        PHILADELPHIA COUNTY
2 My Way-Lincoln University
Lincoln University, PA, 19352

                 v.                                     NO.

CITY CRUISES PHILADELPHIA
401 S Christopher Columbus Blvd,
Philadelphia, PA, 19106

               and
                                                              JURY TRIAL DEMANDED
SPIRIT OF PHILADELPHIA
401 S Christopher Columbus Blvd,
Philadelphia, PA, 19106

              And

ENTERTAINMENT CRUISES, INC.
123 Chestnut St, Ste 402
Philadelphia, PA, 19106



                                       CIVIL ACTION COMlLAINT

         I.       Plaintiffs Melinda LeSage and I-Ierbert J. LeSage, Jr., wife and husband, are adult

individuals and residents of the Commonwealth of Pennsylvania who reside together at 2 My

Way- Lincoln University, Lincoln University, PA 19352.
4892-3009-4365, v. 1


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         2.       Defendant, City Cruises Philadelphia, is a corporation or similar entity, with a

principal place of business at 401 S Christopher Columbus Blvd, Philadelphia, PA 19106.

         3.        Defendant, Spirit of Philadelphia, is a corporation OI' similar entity, with a

principal place of business at 401 S Christopher Columbus Blvd, Philadelphia, PA 19106.

         4.        Defendant, Entertainment Cruises, Inc., is a corporation Of similar entity, with a

principal place of business at 123 Chestnut Street, Philadelphia, PA 19106.

         5.       At all times material to Plaintiffs' cause of action, Defendants were the owners,

operators, possessors, and maintainers of a certain "Spirit of Philadelphia," Yacht docked at 40 l

S. Columbus Blvd, in Philadelphia, PA 19106.

         6.       All the acts alleged to have been done or not to have been done by the Defendants

were done or not done by the Defendants, their agents, servants, workmen and/or employees

acting within the course and scope of their employment and authority for and on behalf of said

Defendants .

         7.       On or about August 10, 2019, at approximately 3:45 pm, Plaintiff, Melinda

LeSage, was a business invitee on the Spirit of Philadelphia Yacht and, while exercising due care

and caution for her own safety, was caused to trip, stumble, and fall by reason of the presence of

a three (3) inch raised threshold above a landing, thereby causing a dangerous, defective and

hazardous condition.

         8.       The dangerous condition of the raised threshold created a reasonably foreseeable

risk that guests such as Plaintiff would trip, stumble, and fall and incur injury.

         9.     As a result of the aforesaid, Plaintiff sustained serious, painful, and permanent

injuries as more particularly described herein.



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                                          QQ.UNT I-NEGLIGENCE

                        PLAINTIFF. MELINDA LESAGE V. ALL DEFENDANTS

         10.      Plaintiffs hereby incorporates the above referenced paragraphs, as fully as though

the same were set forth here at length.

         11.      The negligence and carelessness of the Defendants consisted of the following:

                  (H)    failure to use ordinary care and diligence to warn patrons of the raised

threshold and to keep the doorway in a condition reasonably safe for its intended uses and free

from all defects and conditions which would render it dangerous and unsafe for Plaintiff, or

present an unreasonable risk of harm to her in her lawful use of the same,

                  (b)    failure to place warning and caution signs in a reasonable place, in which

Plaintiff` would have had sufficient time to detect and identify the presence of the raised

threshold hazard.

                  (c)    failure to place warning and caution signs at a reasonable distance, in

which Plaintiff would have had sufficient time to associate the warning with the hazard.

                  (d)    failure to place warning and caution signs in a reasonable place, in which

Plaintiff would have suffcient time to respond to the warning of the raised threshold.

                  (e)    failure to have specific warnings and cautions signs related to the raised

threshold.

                  (f)    failure to warn plaintiff of the dangerous and defective condition of the

raised threshold then and there existing on the Spirit of Philadelphia Yacht.

                  (8)    allowing the raised threshold to remain in a dangerous and defective

condition.



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         12.       By failing to warn or caution of the raised threshold on the Spirit of Philadelphia

011 August 10, 2019, Defendants created a dangerous and/or hazardous condition, of which

Defendants were aware, should have been aware, or could have been aware through the exercise

of ordinary care, and breached their duty to public invitees and Plaintiff herein.

         13.     Plaintiff's fall and resultant injuries were caused by the aforesaid acts of

negligence on the pant of Defendants or their agents, servants and/or employees, who failed to

utilize reasonable care to warn of said reasonably foreseeable hazard or dangerous condition.

         14.      As a result of the aforesaid, Plaintiff sustained injuries to her neck, back, legs and

head, including but not limited to: a fracture to her right distal femur requiring surgical repair

and multilevel degenerative thoracic and lumbar sprain spondylosis.

         15.       As a result of the incident aforesaid, Plaintiff has undergone great physical pain

and mental anguish and she may continue to endure the same for an indefinite time in the future

to her great detriment and loss.

         16.      As a further result of the accident aforesaid, Plaintiff has been compelled to

expend large sums of money for medicine and medical care in an effort to effect a cure of her

injuries, and she may be compelled to continue to expend such sums for the same purposes for an

indefinite time in the future, to her great detriment and loss.

         17.      As a result of the accident aforesaid, Plaintiff has been unable to attend to her

usual and daily duties and occupation and she will be unable to attend to the same for an

indefinite time in the future, to her great detriment and loss.

         18.      As a further result of the aforesaid, Plaintiff has suffered a loss and depreciation

of her earnings and earning power, and she may continue to suffer the same for an indefinite time

in the future, to her great detriment and loss.

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         WHEREFORE, Plaintiff demands judgment against the Defendants, for in an amount in

excess of the jurisdictional limits, together with interest and costs.



                                COUNT II .- LOSS OF CONSORTIUM

                  PLAINTIFF, HERBERT J. LESAGE, JR. vs. ALL DEFENDANTS

         19.      Plaintiff, Herbert J. LeSage, Jr. incorporates by reference the averments of the

above paragraphs as fully as though the same were set foxlh herein at length.

         20.      Plaintiff, Herbert J. LeSage, Jr. is the lawful husband of Plaintiff, Melinda

LeSage.

         21.       As a result of the accident as set forth above, caused solely by the negligence,

carelessness, and recklessness of Defendants, Plaintiff, Herbert J. LeSage, Jr. was caused to

suffer the loss of guidance, support, advice, household services, consortium, personal services,

companionship, and assistance of his wife, Melinda LeSagc.

         22. As a result of the incident as set forth above, caused solely by the negligence,

carelessness, and recklessness of Defendants, Plaintiff, Herbert J. LeSage, Jr. will be caused to

suffer the loss of guidance, support, advice, household services, consortium, personal services,

companionship, and assistance of his wife, Melinda LeSage, in the future.

         WHEREFORE, Plaintiff demands judgment against the Defendants, for compensatory

damages in an amount in excess of the jurisdictional limits, together with interest and costs.




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                                            Respectfully Submitted

                                            STARK & STARK, P.C.

                                            9`"»q%44 846464, 92
                                            Joseph A. Cullen, Jr., Esquire
                                            Dylan Cochran, Esquire

DATED: May 10, 2022                         Attorneys for PIaintw9




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                                                     VE_BIFICATlO1\1_
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                       W e, Melinda LeSage andiji*§- herdy verify that the facts set forth in the

              foregoing Complaint are true and correct to the best of my iMormation, knowledge and belief,

              and that false statements herein are made subject to the penalties of 18 Pa. C.S. Sec. 4904,

              relating to L1I)SWO1D falsification to audiorities.


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    EXHIBIT                               HD ii
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                                 AFFIDAVIT OF COLLEEN LA HA

        I, Colleen La I-Ia, do hereby swear and aver as follows:

At all times pertinent hereto:

        1.     I, Colleen La Ha, am an adult individual and authorized representative on behalf

of Defendants, City Crises Philadelphia, Spirit of Philadelphia and Entertainment Cruises, Inc.

        2.     Defendant, Entertainment Cruises, Inc. is predecessor corporation of Hornblower

Cruises and Events, Inc., which replaced Entertainmait Crises, Inc. via a name change in 2020.

Hornblower Cruises and Events, Inc. is a domestic corporation organized pursuant to the laws of

the state of Delaware. Its principal place of business is located at 455 N Cityiront Drive, Suite

2600, Chicago, IL 6061 I .

       3.      Defendant, City Crises, is a trade name of Hornblower Cruises and Events, LLC,

which replaced Spirit Cruises, LLC via a name change in 2020. Hornblower Cruises and

Events, LLC is domestic limited liability company organized pursuant to the laws of the state of

Delaware. Its principal place of business is located at 455 N Ci       MM           t l§90,* '°~ nu-
                                                                        of l
Chicago, IL60611.                                                  2           A.                      9
                                                                                                       Q
       4.      Defendant Spirit of Philadelphia is a marine vessel owned by Homblower'*Ci'uiseS

and Events, LLC.

       5.      Hornblower Cruises and Events, Inc. is the sole member of Hornblower Cruises

and Events, LLC.

       6.      Hornblower Cruises and Events, LLC and Hornblower Cruises and Events, Inc.,

are organized under Hornblower Group, Inc., which is a domestic corporation organized

pursuant to the laws of the state ofCalifornia. Its principal place ofbusineas is Pier 3, The

Embarcadero, San Francisco, CA94111.
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           7.     Hornblower Cruises and Events, LLC, Hornblower Cruises and Events, Inc., and

    Hornblower Group, Inc. have never been organized pursuant to the laws of the state of

    Pennsylvania, and their respective principal places ofbusiness have never been located in the

    state of Pennsylvania.

           8.     I declare under penalty ofpexjury that the foregoing is Tue and correct.




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 Date' Jung 24, 2022                                    C81
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 Sworn to and Subscribed
 before me this W*l day
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